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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re                                                      Chapter 11

WOODBRIDGE GROUP OF                                        Case No. 17-12560 (JKS)
COMPANIES, LLC, et al.,1
                                                           (Jointly Administered)
                             Remaining Debtors.                            4846
                                                           RE: Docket No. _____

               ORDER EXTENDING THE PERIOD WITHIN WHICH THE
        LIQUIDATION TRUST AND ITS SUBSIDIARIES MAY OBJECT TO CLAIMS

         Upon consideration of the motion (the “Motion”)2 of the Liquidation Trust for the entry of

an order extending the period within which the Liquidation Trust and its subsidiaries may object

to claims through and including February 21, 2024 and all pleadings related thereto; and due and

proper notice of the Motion having been given; and it appearing that no other or further notice of

the Motion is required; and it appearing that the Court has jurisdiction to consider the Motion in

accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and it

appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

venue of this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

it appearing that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found and determined that the relief requested in the Motion

is in the best interest of the Debtors, their estates, their creditors, and all parties in interest; and

after due deliberation and good and sufficient cause appearing therefor, IT IS HEREBY

ORDERED THAT:


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
  follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
  (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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                 1.          The Motion is GRANTED as set forth herein.

                 2.          The time period within which the Liquidation Trust and each of its direct

and indirect subsidiaries, including, but not limited to, the Wind-Down Entity and the Remaining

Debtors, may file objections to claims is enlarged and extended through and including February

21, 2024 (the “Claim Objection Deadline”).

                 3.          This Order shall be without prejudice to the rights of the Liquidation Trust

and each of its direct and indirect subsidiaries, including, but not limited to, the Wind-Down Entity

and the Remaining Debtors to seek further extensions of the Claim Objection Deadline.

                 4.          This Court shall retain jurisdiction and power to hear and determine all

matters arising from or related to the implementation of this Order.




                                                                 J. KATE STICKLES
       Dated: August 28th, 2023
                                                                 UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware


                                                      2
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